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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10

11   IKORONGO TEXAS LLC and                               Case No. 21-cv-07424-SI
     IKORONGO TECHNOLOGY LLC,
12                                                        NOTICE OF WITHDRAWAL OF
                           Plaintiffs,                    APPEARANCE
13
            v.
14
     SAMSUNG ELECTRONICS CO., LTD. and
15   SAMSUNG ELECTRONICS AMERICA, INC.,
16                         Defendants.
17

18          TO THE CLERK AND ALL PARTIES OF RECORD: Please take notice that
19   Margaret O’Boyle withdraws her appearance on behalf of Defendants in the above-captioned
20   case. Defendants will continue to be represented by other counsel of record in this action.
21   Dated: October 14, 2022                      Respectfully submitted,
22

23                                                By: /s/ Margaret O’Boyle
                                                      Margaret O’Boyle
24                                                    O’MELVENY & MYERS LLP
25                                                     Attorneys for Defendants
                                                       Samsung Electronics Co., Ltd. and Samsung
26                                                     Electronics America, Inc.
27

28
                                                                            NOTICE OF WITHDRAWAL OF
                                                                                         APPEARANCE
                                                                                     NO. 21-CV-07424-SI
